OPINION — AG — (1) THE OFFICES OF COUNTY ATTORNEY IN THE COUNTIES COMPRISING DISTRICT ATTORNEY DISTRICT ONE AND DISTRICT THREE WERE ABLOISHED ON JANUARY 3, 1967  (2) ANY ELECTIVE OR APPOINTIVE OFFICER, PROPERLY QUALIFIED AND SERVING, IS SUCH AN OFFICER UNTIL REMOVED OR THE OFFICE BECOME VACANT BY OPERATION OF LAW. 67 C.J.S., OFFICERS SECTION 46. FURTHER, THE SALARY OF AN OFFICIAL POSITION BELONGS TO THE OFFICER OCCUPYING SUCH POSITION AS AN INCIDENT TO THE OFFICE AND DOES NOT DEPEND UPON HIS PERFORMANCE OF THE DUTIES OF THE OFFICE. WEBB V. CITY OF HUGO, 169 OKL. 438, 37 P.2d 621. HENCE OFFICERS ARE ENTITLED TO COMPENSATION SO LONG AS THEY HOLD OFFICE; AND THEY HOLD OFFICE SO LONG AS THE OFFICE EXISTS OR UNTIL THEY ARE REMOVED OR A SUCCESSOR IS ELECTED AND QUALIFIED. CITE: 19 O.S. 1965 Supp., 215.20 [19-215.20], 19 O.S. 1965 Supp., 215.3 [19-215.3] 19 O.S. 1965 Supp., 215.19 [19-215.19], 19 O.S. 1965 Supp., 215.1-215.20 [19-215.1] — [19-215.20] (HUGH COLLUM) ** SEE: OPINION NO. 73-102 (1973) **